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                   TAB 136
          Froni: Peterson, Anton (FID) [Anton.Peteisoii,inorgnstanIey .com]
          Sent: Friday, October 21, 2005 2:24 PM
          To: Travis, Robert (FID); Barrow, Pamela (FID)
          Subject: RE: NCEN Update
          Pamela,

          Rob, Adrianne, Steve arid I had a call at 2 pm. Rob again gave good color to Steve on what he has seen on this trade, and at New Century in general, which is
          very helpful for Steve to respond to the clients concerns about pull-through.

           Keep up the good work, Rob.



          Tony P.



          From: Shapiro, Steven (FID)
          Sent: Friday, October 21, 2005 1:23 PM
          To: Travis, Robert (FID); Dicker, Adrianne (FID); Barrow, Pamela (FID)
          Cc: Peterson, Anton (FID); Atadika, Michael (FID); Teytel, Anna (FID)
          Subject: RE: NCEN Update

          Can we have a quick internat call so I cari get people updated ori a call I had with Kevin Cloyd. I am available anytime after 2 pm est.



          From: Travis, Robert (FID)
          Sent: Friday, October 21, 2005 1:11 PM
          To: Shapiro, Steven (FID); Dicker, Adrianne (FID); Barrow, Pamela (FID)
          Cc: Peterson, Anton (FID); Atadika, Michael (FID); Teytel, Anna (FID)
          Subject: RE: NCEN Update

          Steven,

          A little of both...hard to say without dissecting each loan. Some may be within guidelines from a FICO standpoint but the credit profile is not a
          reflection of the credit score....make sense? Also, most of the loans have some type of exception/issue or Morgan would not have looked at it as a
          credit reject/exception. The loan may meet the FICO score but there is a private party VOR and no cancelled checks as required by the NCEN
          guidelines. There may he loan amount exceptions, time at job, etc. The real issue is that the loan requests do not make sense. $900k in combined
          loans to a renter with no prior mtg history stated making $1 6k a month as a manager of a knock off gold club distributor via the internet and
          mailings, a borrower that makes $12k a month as an operations manger of an unknown company-after research on my parti reveal it is a tarot
          reading house. Compound these issues with the fact that we are seeing what I would call a lot of this type of profile.
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           Hope that helps a little




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          Rob



          From: Shapiro, Steven (EID)
          Sent: Friday, October 21, 2005 12:48 PM
          To: Travis, Robert (FID); Dicker, Adrianne (FID); Barrow, Pamela (FID)
          Cc: Peterson, Anton (EID); Atadika, Michael (FID); Teytel, Anna (EID)
          Subject: RE: NCEN Update

          Rob,

          Do these loans meet guidelines or are they outside of guidelines.

          Steven



          From: Travis, Robert (FID)
          Sent: Monday, October 17, 2005 12:15 PM
          To: Shapiro, Steven (FID); Dicker, Adrianne (EID); Barrow, Pamela (FID)
          Cc: Peterson, Anton (FID); Atadika, Michael (FID); Teytel, Anna (FID)
          Subject: RE: NCEN Update

          Steven,

          There are the typical missing docs and credit issues that are just missed, Specifically what I have been seeing that I am not comfortable with is the
          borrower with light credit, a qualifying FICO score, buymg a high priced home cn a stated income loan program. By light credit I mean less then
          $2500 credit lines for 24 months. Additionally there are more LTV/CLTV exceptions than I remember seeing, and many of those are being made
          on non-owner occupied properties. Several of those borrowers have accumulated a iumber of N/O/O properties over the last year without a history
          of being able to manage that type of debt load. What adds to my concern is that many of these loans are stated income, and the amount if income
          stated is just not reasonable for the credit profile. Bottom line, there is not a lot of common sense being used when approving these types of
          loans

          As far as the underwrite goes. It was completed as scheduled on Friday October 1 4th. The amount of loans at that time that were with the lender for
          one reason or another was over 900 loans. We have a lot of HUD-1 responses that are being processed today, however that will still leave the
          credit/compliance kicks in the low 500 range. I have kept NCEN informed wIth status reports every other day, and they are aware of the magnitude
          of the credit kicks.

          If there is anything else you need, please do not hesitate to ask.

          Thank You

          Rob
                                                                                                                                                                                 Case 1:08-cv-07508-SAS-DCF Document 437-6 Filed 07/02/12 Page 3 of 6




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          From: Shapiro, Steven (FID)
          Sent: Monday, October 17, 2005 8:42 AM
          To: Dicker, Adrianne (FID); Travis, Robert (FID); Barrow, Pamela (FID)
          Cc: Peterson, Anton (FID); Atadika, Michael (FID); Teytel, Anna (FID)
          Subject: RE: NCEN Update

          SCould I get a quick update on how the diligence is proceeding. Would be interested in if there are specific things causing the kickouts to be higher or if   it   is just
          credit across the entire pool.

          Thanks
          Steven



          From: Dicker, Adrianne (FID)
          Sent: Friday, October 07, 2005 4:40 PM
          To: Travis, Robert (FID); Barrow, Pamela (FID)
          Cc: Peterson, Anton (FID); Atadika, Michael (EID); Teytel, Anna (EID); Shapiro, Steven (EID)
          Subject: RE: NCEN Update

          Rob - thanks again for the heads up and the additinnI r.olor on the call; this is not surprising and vie need to be maintaining our credit standards - ¡f you think
          these loans need to be kicked lets not hesitate.

          l've put a call into Bob Lent to make sure hes aware of the magnitude of loans pending response so that he can manage that process. lt sounds like we may very
          well have a higher kick rate this month. Thanks for giving us the heads up so we can manage NCEN's response rate and expectations.

          Adrianne Dicker - Vice President
          Frgan Stanley I Fixed Income
          1585 Broadway Floor 02
          New York NY 10036
          Pr,one: ti 212 761-1166
          Fax: +1 212 507-4023
          Aie.Dkk.rrnorgnstanley.corn


                    From: Travis, Robert (FID)
                    Sent: Friday, October 07, 2005 2:34 PM
                    To: Dicker, Adrianne (EID); Barrow, Pamela (FID)
                    Cc: Peterson, Anton (EID); Atadika, Michael (FID); Teytel, Anna (EID)
                    Subject: RE: NCEN Update
                                                                                                                                                                                                      Case 1:08-cv-07508-SAS-DCF Document 437-6 Filed 07/02/12 Page 4 of 6




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                 Call me ori my celi and we can discuss

                 Ro b



                 From: Dicker, Adrianne (FID)
                 Sent: Friday, October 07, 2005 2:30 PM
                 To: Travis, Robert (EID); Barrow, Pamela (EID)
                 Cc: Peterson, Anton (FID); Atadika, Michael (FID); Teytel, Anna (EID)
                 Subject: RE: NCEN Update

                 Hi Rob - would like to talk about this -we have a call with Acoustic that probably will last 30-45 minutes: can we talk around say 3:30 pm EST thx

                 Adrianne Dicker - Vice President
                 Morgan Stanlay I Ftxd lncom
                 1585 Broadway I Floor 02
                 New York. NY 10036
                 Phono: +1 212 761116S
                 Fox: 1 212 507.4023
                 Adr is nne Dicker arno ransta nhey .c orn




                             From: Travis, Robert (FID)
                             Sent: Friday, October 07, 2005 2:14 PM
                             To: Barrow, Pamela (EID)
                             Cc: Peterson, Anton (FID); Atadika, Michael (FID); Dicker, Adrianne (FID); Teytel, Anna (EID)
                             Subject: NCEN Update

                             I wanted to give a little color on the NCEN October trade at roughly halfway through the underwrite.

                             As many of you know, the first two tapes were somewhat small and caused delays in underwriting. Roughly we are a day or so
                             behind. Nothing we can't manage. My concern to date has more to do with the quality of the files and the product that the borrowers
                             are being placed.

                             As of end of day Thursday Clayton has underwritten 1046 files, of which 789 were kicked (183 are HUD only). 606 loans passed to
                             Morgan for review, Currently there are 554 loans on the Credit Event 3 report-more then half of the underwritten files (this does not
                             include the responses that have been cleared to date).

                             40 Mass BBI loans kicked- 30 are IO kicks with more to come.

                             High risk loans with first time homebuyers, meeting credit grade requirements, but purchasing high end properties at 1 00% CLTV
                             Stated. Large loan amount exceptions, heavy payment shock, and N/OtO exceptions.
                                                                                                                                                                      Case 1:08-cv-07508-SAS-DCF Document 437-6 Filed 07/02/12 Page 5 of 6




                             Overall I would say the loans are riskier than I have seen in the past, resulting in a heavier kick rate.




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                          If you have any questions dont hesitate to call.

                          Ro b




                          Rob Travis
                          Moigan Stanley
                          Field Due Diligence Managor
                          (949) 466.1029 - Mobile
                          Ro be rt.TravisMo iga nSta n ley.c orn
                                                                                                 Case 1:08-cv-07508-SAS-DCF Document 437-6 Filed 07/02/12 Page 6 of 6




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